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                        UNITED STATES DISYRICT COURT
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                      SOUTHEX'N DTSW I-CT @F KIA'XI'
  JOSE LUIS AGUILAR LOPEZ , et a1 .,
       Petitioner ,




  V.                                       CASE N0 .: 13-CR-20911-C00KE


                                                             FILED BY              D.c.
  UNITED STATES 0F AMERICA ,
        Respondent.                                              10k 0 6 2023
                                                                 ito.
                                                                   kkoF
                                                                      ëtllî    l'l
                     RELEVANT MOTION T0 AMEND SENTENC                  ,p.t.x.-uz ii   .
        COMES NOV , Jose Luis Aguilar Lopez, (Petitioner), hereby
  moves this Honorable Court         grant this motion to amend sentence

       accordance with USSG 4c1.1. The Defendant is ln (0-1) guidelines
  and directly meets the criteria outlfned in USSG 4c1.1. To include

  but not limited to: 1) no terrorism was involved in the above case                            Z
                                                                                                le
                                                                                           ..

 matters; and 2) Defendant did not use violence nor was death a                            v,
                                                                                            '
                                                                                                j
 result of the above stated case matters. The Defendant contends

  that he also meets the other eight (8) criteria as well.                  Lopez
 asserts that thiy motion should be granted for a11 of the above

 r eaSOnS .
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                                   CERTIFICATE 0T SERVICE

       1, Jose Luis Aguilar Lopez, et alo, (Petitionerlm do hereby certify under
  the penalty of perjury, 28 U.SOC. j 1746, that I served a true and correct copy

  of the foregofng document(s): 'RELEVANT MOTI0N            AHEND IlsS() 4c1 .1


      Wbich pursuant to Houston v. Lackp 487 U.So 266, 101 L. Ed 2d l08           2379

  (1988), is deemed ffled at the tlme it was hand delivered to prison authorities
  for forwarding to the court, and service upon parties to lftigation, and/or their

  attorneyts) of record.
       I have placed the materïal reference above ïn a properly sealed envelope

  vïth fïrst-class postage (stamps) affixedy and I addressed ït to1 Wilkfe D.
  Ferguson, Jr. Unfted States Courthouse, 400 North Mlaul Ave, Room 8, Mlamf

  Florfda 33128, and deposïted the saïd envelope via hand delfvered to mafl room

  staff at the Federal Correctional Instftutfon Medfum Polloclc on thfs Hov em ber       -

  day oé 20-::
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                                        -/jé#/ z z.      ar'?
                             Josi Luis Aguilar Lopez, (Petftioner)
                              F.C.I. Pollock Medium
                              P.O. Box 4050
                              Pollock, La. 71467

                              PR0 SE REPRESENTATION
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